UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW MEXICO

In re:

LAS UVAS VALLEY DAIRIES,
a New Mexico General Partnership

Debtor. No. 17-12356-t11

 

ROBERT MARCUS, not individually, but solely

in his capacity as LIQUIDATING TRUSTEE OF
THE LAS UVAS VALLEY DAIRIES LIQUIDATING
TRUST,

Plaintiff,
v. Adv. No. 19-01009-t

LAS UVAS VALLEY DAIREIS, DEAN HORTON,
FRANCES HORTON, LOREN HORTON AND
MITCHELL HORTON,

Defendants.

NOTICE OF SUBSTITUTION OF COUNSEL AND
ENTRY OF APPEARANCE

COMES NOW Modrall Sperling Roehl Harris & Sisk, P.A. (Paul M. Fish) and hereby
enters its appearance on behalf of Plaintiff Robert Marcus, not individually but solely in his
capacity as Liquidating Trustee of the Las Uvas Valley Dairies Liquidating Trust, in substitution
for Saul Ewing Arnstein & Lehr LLP (Barry A. Chatz and Sean P. Williams).

Saul Ewing Arnstein & Lehr LLP hereby withdraws from its representation of the
Plaintiff.

Respectfully Submitted,
MODRALL SPERLING ROEHL HARRIS & SISK, P.A.
By:___/s/ Paul M. Fish

Paul M. Fish

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Attorneys for the Robert Marcus, not Individually,
but Solely in his capacity as Liquidating Trustee of
the Las Uvas Valley Dairies Liquidating

Trust

and

Saul Ewing Arnstein & Lehr LLP

whe:

‘Barry’ A. Chatz

Sean P. Williams

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Former attorneys for the Robert Marcus, not
Individually, but Solely in his capacity as
Liquidating Trustee of the Las Uvas Valley Dairies
Liquidating

Trust

In accordance with NM LBR 9036-1 and
Fed. R. Civ. P. 5(b)(2)(D), this certifies that
service of the foregoing document was made
this 14" day of October, 2019, via the

notice transmission facilities of the case
management and electronic filing system

of the Bankruptcy Court.

By: __ /s/Paul M. Fish
Paul M. Fish

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